Case 7:24-cv-00533-ACA Document 7-2 Filed 05/08/24 Page 1 of 6            FILED
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Case 7:24-cv-00533-ACA Document 7-2 Filed 05/08/24 Page 2 of 6
Case 7:24-cv-00533-ACA Document 7-2 Filed 05/08/24 Page 3 of 6
Case 7:24-cv-00533-ACA Document 7-2 Filed 05/08/24 Page 4 of 6
Case 7:24-cv-00533-ACA Document 7-2 Filed 05/08/24 Page 5 of 6
Case 7:24-cv-00533-ACA Document 7-2 Filed 05/08/24 Page 6 of 6
